Cas

—

CoO WAY DO UH HE WY LY

JOSEPH GUTIERREZ,

Petitioner
V.

M. ATCHLEY,
Respondent.

 

 

Prejudice,

prejudice.

DATE: May 6, 2020

 

 

#@ 2:20-cv-04042-JGB-GJS Document4 Filed 05/06/20 Page1lofi Page ID#:15

JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. CV 20-4042-JGB (GJS)

JUDGMENT

Pursuant to the Court’s Order Denying Motion And Dismissing Action Without

IT IS ADJUDGED THAT the above-captioned action is dismissed without

ALO.

JEQUs G. BERNAL
UNS“ED STATES DISTRICT JUDGE

 
